Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 1 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 2 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 3 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 4 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 5 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 6 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 7 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 8 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 9 of 15
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 10 of 15
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                            Case 19-10593-CSS           Doc 1     Filed 03/19/19   Page 11 of 15



                                        UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                             )
            In re:                                           )       Chapter 7
                                                             )
            YIELDBOT, INC.                                   )       Case No. 19-______
                                                             )
                                     Alleged Debtor.         )
                                                             )

                                       CORPORATE OWNERSHIP STATEMENT

                    I, Chris Hadley, Vice President of Operation of wikiHow, Inc., named as the Petitioning
            Creditor in the above-captioned case, hereby state pursuant to Fed. R. Bankr. P. 1010(b) that no
            corporation directly or indirectly owns 10% or more of any class of wikiHow, Inc.’s equity
            interests.


            Dated:      March 14, 2019                           By: __________________________________
                                                                     Chris Hadley




                              Yieldbot, Inc. (wikiHow, Inc.) CORPORATE OWNERSHIP STATEMENT
              Case 19-10593-CSS         Doc 1    Filed 03/19/19     Page 12 of 15



                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                            )
In re:                                      )         Chapter 7
                                            )
YIELDBOT, INC.                              )         Case No. 19-- - -
                                            )
                      Alleged Debtor.       )
                                            )
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                        CORPORATE OWNERSHIP STATEMENT

        I, George Wukoson, Senior Corporate Counsel of Everyday Health Media, LLC, named
as the Petitioning Creditor in the above-captioned case, hereby state pursuant to Fed. R. Bankr.
P. 101 0(b) that the following is a list of any corporation, other than a governmental unit, that
directly or indirectly owns 10% or more of any class of equity interests in Everyday Health
Media, LLC:

Ziff Davis, LLC, a wholly-owned subsidiary of j2 Global, Inc., a publicly-held corporation.


Dated:     March 13, 2019                       By:
                                                      George Wukoson




         Yieldbot, Inc. (Everyday Health Media, LLC) CORPORATE OWNERSHIP STATEMENT
              Case 19-10593-CSS         Doc 1     Filed 03/19/19     Page 13 of 15



                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

                                             )
In re:                                       )        Chapter 7
                                             )
YIELDBOT, INC.                               )        Case No. 19-______
                                             )
                      Alleged Debtor.        )
                                             )

                        CORPORATE OWNERSHIP STATEMENT

       I, Scott Kolb, an Officer of Slader, LLC, named as the Petitioning Creditor in the above-
captioned case, hereby state pursuant to Fed. R. Bankr. P. 1010(b) that the following is a list of
any corporation, other than a governmental unit, that directly or indirectly owns 10% or more of
any class of equity interests in Slader, LLC:

Gerrity Group, LLC

Dated:    March 15, 2019                         By: __________________________________
                                                     Scott Kolb




                 Yieldbot, Inc. (Slader, LLC) CORPORATE OWNERSHIP STATEMENT
             Case 19-10593-CSS         Doc 1    Filed 03/19/19    Page 14 of 15



                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                           )
In re:                                     )        Chapter 7
                                           )
YIELDBOT, INC.                             )        Case No. 19-______
                                           )
                     Alleged Debtor.       )
                                           )

                       CORPORATE OWNERSHIP STATEMENT

        I, Alexander Baldwin, President of PBH Network Inc., named as the Petitioning Creditor
in the above-captioned case, hereby state pursuant to Fed. R. Bankr. P. 1010(b) that no
corporation directly or indirectly owns 10% or more of any class of PBH Network Inc.’s equity
interests.


Dated:    March 14, 2019                       By: __________________________________
                                                   Alexander Baldwin




             Yieldbot, Inc. (PBH Network Inc.) CORPORATE OWNERSHIP STATEMENT
Case 19-10593-CSS   Doc 1   Filed 03/19/19   Page 15 of 15
